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                 EXHIBIT 9
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                         ADMINISTRATIVE PROCEEDING
                                 BEFORE THE
                 SECURITIES COMMISSIONER OF SOUTH CAROLINA

 IN THE MATTER OF:                          )
                                            )
 Nexo, Inc.; and                            ) ORDER TO CEASE AND DESIST
 Nexo Capital, Inc.;                        )     Matter No. 20221615
                                            )
                                            )
                               Respondents. )
 _________________________________________ )


                              I. PRELIMINARY STATEMENT
       Pursuant to the authority granted to the Securities Commissioner of South Carolina (the

“Securities Commissioner”) under the South Carolina Uniform Securities Act of 2005, S.C. Code

Ann. § 35-1-101, et seq., and the regulations and rules promulgated thereunder (the “Act”), and

delegated to the Securities Division of the Office of the Attorney General of the State of South

Carolina (the “Division”) by the Securities Commissioner, the Division conducted an investigation

into the securities-related activities of Nexo, Inc. (“Nexo”) and Nexo Capital, Inc. (“Nexo

Capital”) (collectively, the “Respondents”). In connection with its investigation, the Division has

determined that evidence exists to support the Findings of Fact and Conclusions of Law set forth

below, and the issuance of this Order to Cease and Desist.

                                      II. JURISDICTION

       1.      The Securities Commissioner has jurisdiction over this matter pursuant to S.C.

Code Ann. § 35-1-601(a).

                                  III. RELEVANT PERIOD

       2.       Except as otherwise expressly stated, the conduct described herein occurred

between January 1, 2018, and the present (the “Relevant Period”).



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                                         IV. RESPONDENTS

         3.      Nexo is a Cayman Islands corporation formed in 2018. Nexo is part of the Nexo

 Group, which includes entities organized primarily in European jurisdictions. Nexo is not

 registered to do business in South Carolina and is not registered with the Division in any capacity.

         4.      Nexo Capital is a Cayman Islands corporation formed in 2018 with its principal

 place of business in Grand Cayman, Cayman Islands. Nexo Capital is a wholly owned subsidiary

 of Nexo. Nexo Capital is part of the Nexo Group. Nexo Capital is not registered to do business

 in South Carolina and is not registered with the Division in any capacity.

         5.      The above-named entities will be collectively referred to as “Nexo.” Nexo provides

 virtual currency-related financial services to retail and institutional borrowers in the United States,

 including trading, borrowing, and lending services. Nexo conducts its business on its public

 website accessible at http://www.nexo.io/ and through the Nexo mobile application.

                                      V. FINDINGS OF FACT

i.   Overview

         6.      From approximately June 17, 2020, to the present, Nexo offered and sold their Earn

 Interest Product (“EIP”) to new and/or existing United States investors. The EIP enables investors

 to earn interest passively by loaning certain digital assets (“Eligible Earn Assets”) to Nexo. Nexo’s

 EIP investors have no part in selecting, monitoring, or reviewing the revenue-generating activities

 that Nexo utilizes to earn this interest.

         7.      As of July 31, 2022, there were 1,150 South Carolina EIP accounts earning interest

 with a total EIP savings wallet value of $7,305,223. Nationally, there were 93,318 EIP accounts

 earning interest with a total EIP savings wallet value of $800,260,000.




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         8.      During the Relevant Period, there were up to 1,190 South Carolina EIP accounts

  earning interest.

         9.      Nexo has promoted their financial services, including the EIP, to South Carolina

  investors primarily through their website at http://www.nexo.io/ and their mobile Nexo

  application. On its website, Nexo has provided information about its EIP and a list of supported

  virtual currencies and their corresponding interest rates. Additionally, Nexo has promoted the EIP

  on social media through various platforms including Twitter, Instagram, and YouTube. Through

  Nexo’s website, blog, and social media accounts, Nexo has represented interest rates on these EIP

  accounts of up to 36%, significantly higher than the rates offered for short-term, investment grade,

  fixed-income securities or for bank savings accounts.

         10.     In offering its EIP, Nexo has failed to disclose material information about the

  investment, including, but not limited to, Nexo’s EIP interest generation deployment activities,

  Nexo’s legal and regulatory compliance in South Carolina, and the limitations of Nexo’s financial

  representations.

ii.   Nexo Earn Interest Product

         11.     Nexo has allowed, with certain limitations, anyone either 18 years or older,

  depending on the jurisdiction, to open a Nexo EIP account and access Nexo wallet services. When

  opening a Nexo account, an investor will go through several user identity-verification protocols,

  including, at a minimum, the provision of an investor’s legal name, date of birth, and address. An

  investor will then transfer fiat currency (EUR, GBP, and USD) from a bank account to their Nexo

  account. Investors can also add cryptocurrency to their Nexo wallet by transferring assets from

  another crypto exchange or wallet.




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       12.     On or around February 19, 2022, Nexo disallowed any US investors who had not

yet opened a Nexo Account from opening an EIP savings wallet. Also on or around February 19,

2022, Nexo disallowed any existing US investors from adding additional assets into their existing

EIP savings wallets.

       13.     In Nexo’s EIP, an investor agrees to invest their Eligible Earn Assets with Nexo in

exchange for passively earning interest that is deposited into the investor’s EIP savings wallet.

EIP investors begin accruing interest 24 hours after investing Eligible Earn Assets with Nexo.

       14.     Nexo has offered their EIP in the form of either a Flex EIP Savings Wallet Term

(“Flex Term Investment”) or a Fixed EIP Savings Wallet Term (“Fixed Term Investment”).

Interest from an investor’s Eligible Earn Assets is credited to an investor’s EIP savings wallets

either at the expiration of the Fixed Term Investment, or daily for a Flex Term Investment.

       15.     For a Flex Term Investment, there is no required “holding” time for an investor to

lend their Eligible Earn Assets, and these investors are able to withdraw their Eligible Earn Assets

at any time subject to the terms and conditions of a Nexo wallet.

       16.     For a Fixed Term Investment, investors are unable to withdraw their Eligible Earn

Assets for the duration of a defined term. When investing in a Fixed Term Investment, an investor

can elect to utilize Nexo’s “automatic renewal” feature to rollover their investment at the end of

the defined term.

       17.     The interest rate Nexo pays an investor on their invested Eligible Earn Assets is

determined by several factors, including the length of the Eligible Earn Assets loan, the type of

cryptocurrency loaned, and whether the investor has a Flex Term Investment or a Fixed Term

Investment. Generally, the longer that an investor agrees to maintain their Eligible Earn Assets

with Nexo, the higher the rate of return.



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          18.     After February 19, 2022, while Nexo disallowed additional deposits into existing

   EIP savings wallets, Nexo continued to allow existing South Carolina investors enrolled in a Fixed

   Term Investment to rollover their EIP Eligible Earn Assets into a new Fixed Term Investment.

iii.   Deployment and Income-Generating Activities

          19.     In accordance with the EIP terms and conditions, the EIP savings wallet interest

   rate is subject to revision from time to time, at Nexo’s sole and absolute discretion. Included in

   the EIP terms and conditions, investors are required to acknowledge that they:

          …understand and agree that we [Nexo] might convert, pledge, re-pledge,

          hypothecate, rehypothecate, sell, lend, or otherwise transfer, dispose of or use any

          amount of any Digital Assets in regard to which you use the Nexo Earn Interest

          Product, separately or together with other property, and for any period of time, and

          without retaining in our [Nexo’s] possession and/or control for delivery a like

          amount thereof or any other assets, at our [Nexo’s] sole and absolute discretion.

   As such, any profit earned by Nexo investors is earned solely through the efforts of Nexo with

   means determined solely by Nexo.

          20.     Nexo groups and deploys investor Eligible Earn Assets with other investors’

   Eligible Earn Assets and similar, Nexo-owned assets (e.g., Eligible Earn Bitcoin Assets with other

   Nexo-owned Bitcoin assets). To earn income to pay interest to EIP investors, Nexo engages in

   deployment activities including the staking, lending, arbitrage, and provision of liquidity on certain

   decentralized finance platforms, in addition to the lending of aggregated investor Eligible Earn

   Assets to retail and institutional borrowers.




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iv.   Material Misrepresentations and Omissions in Offer and Sale of EIPs

         21.     In offering the EIP to South Carolina investors, Nexo has failed to disclose material

  information related to interest generation. These omissions include, but are not limited to, the

  types of trading and investment activities that Nexo engages in while utilizing EIP Eligible Earn

  Assets, the identities and creditworthiness of those who borrow EIP Eligible Earn Assets, and the

  amount of EIP Eligible Earn Assets used in each income-generating activity.

         22.     Nexo has failed to disclose its lending agreements or the terms contained therein to

  EIP investors, and as such, Nexo’s EIP investors are not provided with information as to who

  Nexo’s institutional lending partners are, how long the term loan is, or whether these loans are

  over-collateralized, despite Nexo’s assurances that all loans are provided in an over-collateralized

  fashion. Consequently, Nexo EIP investors cannot adequately evaluate the risk associated with

  their participation in the EIP prior to investing their Eligible Earn Assets with Nexo.

         23.     In offering the EIP to South Carolina investors, Nexo has failed to disclose material

  information related to Nexo’s regulatory compliance as it pertains to the EIP offering.

         24.     Nexo’s website represents to EIP investors that “Nexo has gone the extra mile in

  ensuring compliance with the applicable regulatory frameworks. Together with our top-tier legal

  counsel and engaging proactively with the regulatory decision-makers we ensure the sustainability

  of our products for years to come.”

         25.     Concurrently, Nexo makes the following statements on its website: “The Nexo

  Group has legal entities in various locations throughout the world…and is in compliance with all

  applicable global and local regulations…rest assured that Nexo is compliant everywhere it

  provides services and retains top-tier legal counsels in the jurisdictions of its operation.” Further,




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within the footer of Nexo’s website, Nexo displays the phrase “Licensed & Regulated Digital

Assets Institution.”

        26.     Through these representations, Nexo gives investors the impression that their

investments are less risky. On or about June 30, 2021, Nexo co-founder Antoni Trenchev

(“Trenchev”) appeared on a Yahoo Finance Live broadcast titled, “Crypto-focused banking: Nexo

Co-Founder discusses his company’s growth and business model.” On this broadcast, Trenchev

stated that he “would argue, from a financial perspective…that [Nexo is] safer, especially for the

larger clients, than your average bank.” On July 1, 2021, Nexo re-posted this broadcast to its

YouTube channel, and re-named it, “Nexo is Safer than your Average Bank…”

        27.     Nexo Capital is the entity that operates Nexo’s website and conducts the EIP

offering. This is not disclosed on the website; instead, the website often uses the name “Nexo”

without further clarification. Of the licenses and registrations identified on Nexo’s website, Nexo

Capital only held one—a money service business registration license in Canada. Notably, none of

the Respondents hold licenses in South Carolina. Further, the Respondents do not hold any

securities licenses.

        28.     As such, Nexo: 1) fails to specify Nexo Capital as the operator of the website and

provider of the services offered therein; 2) lists the licenses of one or more entities that are not

actually doing business in the relevant jurisdictions and that are not conducting the business

offered and provided through the website on which the licenses and registrations are listed; and 3)

makes the false statement that the Nexo Group is in compliance with “all applicable…regulations.”

        29.     In offering the EIP to South Carolina investors, Nexo has failed to disclose material

information related to Nexo’s financial representations as they pertain to the EIP offering.




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        30.     Nexo represents on its website and through the Nexo YouTube video, “How to Earn

Crypto Interest,” that an investor’s Eligible Earn Assets are secured at all times by Nexo’s asset-

backed portfolio of over-collateralized loans.         Nexo also states that the platform lends to

individuals and institutions only on an over-collateralized basis, which is, in part, how Nexo states

that they keep EIP interest rates consistent over time and “basically eliminate counter party risk.”

        31.     Further, on or about June 10, 2021, Nexo advertised a forthcoming “real-time audit”

of Nexo’s custodial assets by Armanino LLP,1 which they represented would show that the

company’s assets exceed liabilities. In a Dailyhodl article published on June 10, 2021, Trenchev

stated, “We are happy to have opened our books to allow Armanino…to verify that our company’s

assets exceed liabilities at all times and demonstrate how seriously we treat Nexo’s commitments

to our customers.”

        32.     In a Nexo blog post published on September 23, 2021, Nexo presented the

Armanino report, which purports to offer a “real-time audit of Nexo’s custodial assets, showing

the company’s assets always exceed liabilities.” This Armanino report is updated daily and Nexo

claims that it provides the following assurances: 1) “Fully Backed: Your holdings on Nexo’s

platform are backed by assets by more than 100%”; 2) “Properly Managed: Third-party assurance

that your funds on the Nexo platform are properly managed and accounted for”; and 3) “Always

Available: 24/7 proof of Nexo’s ability to meet all liabilities owed to you at any time.” This

Armanino report is publicly available online at https://real-time-attest.trustexplorer.io/nexo.

        33.     More recently, as a response to a competing cryptocurrency firm freezing customer

withdrawals on June 12, 2022, Nexo’s Twitter account tweeted:




1
 Armanino LLP is a Public Company Accounting Oversight Board (“PCAOB”) – certified auditor, accounting, and
consulting firm in the US.

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       All Nexo products are operating normally – Borrow, Earn, Exchange…Nexo is the

       first and only blockchain finance company to have a real-time audit of its custodial

       assets, showing that the company’s assets exceed its liabilities at all times which

       attests to Nexo’s liquidity and ability to meet all of its obligations…Nexo is in a

       solid liquidity and equity position to readily acquire any remaining qualifying

       assets of Celsius, mainly their collateralized loan portfolio…

Nexo provided a link to their real-time attestation Armanino report within the body of this tweet.

       34.     Nexo’s provision of the Armanino report in conjunction with these claims of

financial stability gives the appearance that the Armanino report can support Nexo’s claims of

financial stability in a turbulent market.

       35.     Despite representations by Nexo, the data and figures set forth in the Armanino

report contain several material shortcomings, as described in the report’s Agreed Upon Procedures,

that limit the report’s ability to provide assurances of Nexo’s financial stability. These limitations

include: 1) a failure to identify non-Customer Liabilities; 2) a failure to identify whether Customer

Liabilities include the collateral that Nexo holds for over-collateralized retail loans; 3) a failure to

identify the liquidity of Nexo’s assets; 4) a failure to identify doubtful loan accounts (e.g., a

distressed or non-paying borrower accounts); and 5) a failure to identify whether Nexo’s deposit

liabilities are secured or otherwise collateralized by Nexo’s assets.

       36.     As such, this report is of limited value and cannot be used to support Nexo’s claims

that “Nexo’s assets exceed their liabilities by more than 100%.”

       37.     Despite the cryptocurrency market fluctuations, the bankruptcies filed by

competing cryptocurrency firms, and Nexo’s above-referenced claims of solvency and offers to

purchase a competitor’s assets, to date, Nexo has provided insufficient information to substantiate



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 its solvency claims; yet, Nexo continues to tout its financial solvency broadly to potential investors

 without providing information to regulators or investors that confirms these claims.

v.      Registration Status

            38.     The Nexo EIP is not registered with the Division or any other securities regulatory

     authority, nor is it exempt from registration.

                                      VI. CONCLUSIONS OF LAW

            39.     Paragraphs 1 through 38 are incorporated by reference as though fully set forth

 herein.

            40.     The Nexo Earn Interest Product is a security as defined in S.C. Code Ann. § 35-1-

 102(29).

            41.     Pursuant to S.C. Code Ann. § 35-1-301, it is unlawful for a person to offer or sell a

 security in this State unless: (1) the security is a federal covered security; (2) the security,

 transaction, or offer is exempted from registration under Sections 35-1-201 through 35-1-203; or

 (3) the security is registered under this chapter.

            42.     The Nexo Earn Interest Product was and is required to be registered with the

 Division pursuant to S.C. Code Ann. § 35-1-301.

            43.     The Nexo Earn Interest Product has not been registered with the Division, is not

 exempt from registration, and is not a federally covered security.

            44.     Respondents offered and sold unregistered securities in violation of S.C. Code Ann.

  § 35-1-301.

            45.     Each violation of S.C. Code Ann. § 35-1-301 is a separate violation of the Act.

            46.     Pursuant to S.C. Code Ann. § 35-1-501, it is unlawful for a person, in connection

  with the offer, sale, or purchase of a security, directly or indirectly: (1) to employ a device, scheme,



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or artifice to defraud; (2) to make an untrue statement of a material fact or to omit to state a material

fact necessary in order to make the statements made, in light of the circumstances under which

they were made, not misleading; or (3) to engage in an act, practice, or course of business that

operates or would operate as a fraud or deceit upon another person.

        47.     The conduct of Respondents, as alleged in paragraphs 21-37, supra, constitutes a

violation of S.C. Code Ann. § 35-1-501.

        48.     The Respondents’ violations of the Act set forth above provide the basis for this

Order, pursuant to S.C. Code Ann. § 35-1-604.

        49.     This Order is appropriate and in the public interest, pursuant to the Act.

                                            VII. ORDER

        NOW THEREFORE, pursuant to S.C. Code Ann. § 35-1-604(a)(1), it is hereby

ORDERED that:

    a. Each Respondent and every successor, affiliate, control person, agent, servant, and

        employee of each of the Respondents, and every entity owned, operated, or indirectly or

        directly controlled by or on behalf of each of the Respondents shall CEASE AND DESIST

        from transacting business in this State in violation of the Act;

    b. The Respondents shall jointly and severally pay a civil penalty in the amount of six hundred

        twenty-five thousand dollars ($625,000.00) if this Order becomes effective by operation of

        law, or, if a Respondent seeks a hearing and any legal authority resolves this matter, pay a

        civil penalty in an amount not to exceed $10,000.00 for each violation of the Act by the

        Respondent(s).

    c. The Respondents shall jointly and severally pay the costs associated with this investigation

        in the amount of two thousand dollars ($2,000.00) if this Order becomes effective by



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       operation of law, or, if a Respondent seeks a hearing and any legal authority resolves this

       matter, pay the actual costs associated with the investigation and legal proceeding in

       accordance with S.C. Code Ann. § 35-1-604(e).

                    VIII. NOTICE OF OPPORTUNITY FOR HEARING

       Each of the Respondents is hereby notified that it has the right to a formal hearing on the

matters contained herein. To schedule a hearing, a Respondent must file with the Division within

thirty (30) days after the date of service of this Order, a written Answer specifically requesting a

hearing. If any Respondent requests a hearing, the Division, within fifteen (15) days after receipt

of a written request, will schedule a hearing for that Respondent. The written request shall be

delivered to the Office of the Attorney General, 1000 Assembly Street, Columbia, South Carolina

29201, or mailed to the Office of the Attorney General, Attention: Securities Division, P.O. Box

11549, Columbia, South Carolina, 29211-1549.

       In the written Answer, a Respondent, in addition to requesting a hearing, shall admit or

deny each factual allegation in this Order, shall set forth the specific facts on which the Respondent

relies, and shall set forth concisely the matters of law and affirmative defenses upon which the

Respondent relies. If the Respondent is without knowledge or information sufficient to form a

belief as to the truth of an allegation, the Respondent shall so state.

       Failure by a Respondent to file a written request for a hearing in this matter within the

thirty-day (30) period stated above shall be deemed a waiver by that Respondent of the right to

such a hearing. Failure by a Respondent to file an Answer, including a request for a hearing, shall

result in this Order’s becoming final by operation of law. The regulations governing the hearing

process can be found at S.C. Code of Regulations § 13-604.




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